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                           IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

 3SHAPE A/S,                                   )
                                               )
                  Plaintiff,                   )
                                               )
             v.                                )    C.A. No. 18-886-LPS
                                               )
 ALIGN TECHNOLOGY, INC.,                       )    CONSOLIDATED
                                               )
                  Defendant.                   )

                               STIPULATION TO EXTEND TIME

         The parties hereby STIPULATE AND AGREE, subject to the approval of the Court, that

the below case deadlines are extended as follows:

 Event                                     Current Deadline            New Deadline

 Submission of claim construction          February 14, 2020           March 6, 2020
 tutorials
 Submission of comments on opposing        March 6, 2020               March 13, 2020
 party’s claim construction tutorial

    /s/ Geoffrey G. Grivner                            /s/ Jeff Castellano
    Geoffrey G. Grivner (No. 4711)                     John W. Shaw (No. 3362)
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    Dated: February 6, 2020                            jcastellano@shawkeller.com
                                                       Attorneys for Defendant

IT IS SO ORDERED THIS ___ day of ___________, 2020.


                                                          United States District Judge
